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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JUNIOR A. NUNEZ RODRIGUEZ,                                                     Case No.: 1:24-cv-06873-RA-KHP

                                        Plaintiff,                             DECLARATION OF ERICA
             -against-                                                         MEYER, ESQ. IN SUPPORT OF
                                                                               THE APPLICATION TO
FORDHAM AUTO PLUS, INC., and JULIO CABRERA,                                    CLERK FOR CERTIFICATE OF
individually,                                                                  DEFAULT PURSUANT TO
                                                                               LOCAL CIVIL RULE 55.1
                                         Defendants.
---------------------------------------------------------------------------X

        ERICA MEYER ESQ., being duly sworn, hereby deposes and states under penalty of

perjury, pursuant to 28 U.S.C. §1746, as follows:

        1.        I am the attorney of record for Plaintiff, Junior A. Nunez Rodriguez (“Plaintiff”). As

such, I am familiar with the facts and circumstances of the above-captioned matter. I submit this

declaration pursuant to Local Civil Rule 55.1 and Fed. R. Civ. P. 55(a) in support of Plaintiff’s

Application for a Certificate of Default (the “Application”) against Defendants FORDHAM AUTO

PLUS, INC., (“Fordham”) and JULIO CABRERA (“Cabrera”).

        2.        In this Application, Plaintiff asks the Clerk to enter default against Defendants,

FORDHAM AUTO PLUS, INC., and JULIO CABRERA.

        3.        This action was commenced by filing of the Summons and Complaint on September

11, 2024. See ECF Doc. No. 1 & 4, Exhibit A.

        4.        Defendants are not an infant or incompetent person and are not in the military service

within the purview of the Soldier's and Sailor's Civil Relief Act of 1940 as amended.

        5.        On September 20, 2024, Plaintiff served Defendant Fordham, via Meridian

Investigation & Security. See ECF No. 9, Exhibit B.

        6.        Akim Laurie Douglas (“Process Server”) served Defendant Fordham by;




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              a. Corporation: a defendant therein named by delivering a true copy of each to

                 MARIEL “DOE” (last name not provided), who provided verbal confirmation that

                 she is authorized to accept service on behalf of the defendant, FORDHAM AUTO

                 PLUS, INC.

       7.     On September 20, 2024, Plaintiff served Defendant Cabrera, via Meridian

Investigation & Security. See ECF No. 10, Exhibit C.

       8.     Akim Laurie Douglas (“Process Server”) served Defendant Goodman by;

              a. Suitable person: a defendant therein named, by delivering a true copy of each to

                 MARIEL “DOE” (last name not provided), a person of suitable age and secretion

                 and who provided verbal confirmation that she is authorized to accept service on

                 behalf of the defendant, JULIO CABRERA.

              b. Mailing: Deponent also caused to be enclosed a copy of same, in a postpaid sealed

                 wrapper properly addressed to said defendant at defendant’s last known residence,

                 2409 Jerome Avenue, Bronx, NY 10468, and to be deposited in a post office,

                 official depository under the exclusive care and custody of the United States Post

                 Office, department, with New York State. The wrapper bore the legend “Personal

                 and Confidential” and did no indicate on the outside thereof, by return address or

                 otherwise, that the communication was from an attorney or concerned an action

                 against the Defendant. Delivery and mailing effected within twenty days of each

                 other.

       9.     The time for Defendant Fordham to serve an answer or file a motion has long since

expired, as Defendant Fordham was required to respond on or before October 11, 2024. See ECF

Dkt. No. 9, Exhibit B.




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       10.     The time for Defendant Cabrera to serve an answer or file a motion has long since

expired, as Defendant Cabrera was required to respond on or before October 11, 2024. See ECF

Dkt. No. 10, Exhibit C.

       11.     Since Defendants have failed to Answer or otherwise defend the above-captioned

action, they are clearly in default. As such Plaintiff request the issuance of the CLERK’S

CERTIFICATE OF DEFAULT. See Exhibit D.

       WHEREFORE, Plaintiff respectfully request that the Clerk of this Court grant Plaintiff’s

application for a Certificate of Default.

Dated: New York, New York
       November 1, 2024


                                                     JOSEPH & NORINSBERG, LLC



                                                     _________________________
                                                     Erica Meyer, Esq.
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